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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

United States of America
Plaintiff(s),
vs. Case No.:4:24-mj-094-SH
Morgan Womack Criminal Information Sheet
Defendant(s).
Interpreter: Yes O No O
Date: 2/8/2024
Magistrate Judge Huntsman Deputy Dusty Gross USPO C. Brown
Date of Arrest: 2/8/2024 Arrested By: DEA Detention Requested by AUSA
Bail Recommendation: C] Unsecured
Additional Conditions of Release:
Oa Ob. Om OnOo OpOg Urs
Oe Od Oe Of Og. Or (01, 02, 03, 04, O05, 06,07)
Oh O11. Oj. Ou (01, 02, 03, 04, 05, 06 O07)
Ok. (Oi, O ii, 0 iti) Ov (01, 02, 03, 04, 05, 06,07, 08, O09, 0 10)
D1. Ow (01, 02) O x. (other)
Defendant Requests Federal Public Defender/Ct. Appt. Counsel: OO Yes O No
Defendant's Attorney: C) FPD; LJ ct. Appt; Cd Ret Counsel
AUSA: — Adam Bailey
MINUTES:
Interpreter: - © Sworn

‘$2 Defendant appears in person for IA on: (© Indictment; ©) Information; 6¥ Complaint: C1 Petition; Rule 5
with: © Ret Counsel; O FPD; OCt. Appt; QV w/o Counsel

O Financial Affidavit received and FPD/CJA appointed; 1 Present 1 Not Present
Defendant’s name as reflected in the indictment/information/complaint/petition/Rule 5 is the true and correct legal name:

CJ Verified in open court

CJ Corrected by interlineation to
to reflect Defendant’s true and correct name and all previous filings are amended by interlineation to reflect same.

7 Unable to verify in open court: 1 U.S. Atty. to verify & advise court; [J Defendant’s Attorney to verify & advise

court;
Waivers executed and filed: ©) of Indictment; 1) of Preliminary Exam; 7) of Detention Hearing; 0 of Rule 5 Hearings

7 Bond set for ; Bond and conditions of release executed

C Government’s Motion for Detention and Detention Hearing filed in open court

CF) Arraignment held and Defendant pleads Not Guilty; Court accepts plea; Scheduling dates to be mailed to counsel

AL initial Appearance continued to: 2 | gq | Q OY at Qs QO amity?

CJ Arraignment scheduled: at a.m./p.m.
J Detention Hearing scheduled: at a.m./p.m.
OC) Preliminary Exam scheduled: at a.m./p.m.

@ Defendant remanded to custody of U.S. Marshal: WI Pending further proceeding; [ Pending release on bond for treatment
Mot. for Detention # 3: Oj Granted; 0 Denied; M Moot Mot. for Hearing # q. CJ Granted; 0) Denied; O Moot

4

Additional Minutes: |) {J Aye cr 4 ()

Counsel ‘Croic

Criminal Information Sheet CR-24 (11/2020)
